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                                         6
                                         7                                 UNITED STATES DISTRICT COURT
                                                                                DISTRICT OF NEVADA
                                         8
                                             TODD EVANS,                                       Case No.: 3:18-cv-00283-RCJ-WGC
                                         9             Plaintiff,
                                        10                                                      STIPULATION AND ORDER TO
                                             vs.                                                EXTEND DEADLINE TO FILE
                                        11                                                      AMENDED COMPLAINT
                                             JAMES DZURENDA, et al.,                            (ECF No. 41)
                                        12              Defendants.
                                        13                                                      (FIFTH REQUEST)
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                                                      Pursuant to LR IA 6-1, Plaintiff TODD EVANS and Defendants JAMES
       LAS VEGAS, NV 89101
       ATTORNEYS AT LAW




                                        15   DZURENDA, ROMEO ARANAS, JOHN KEAST, DR. JONES, and DR. MAR
                                        16   (collectively “Defendants”), by and through their respective counsel, hereby stipulate and
                                        17   request that this Court extend the deadline for Plaintiff TODD EVANS to file his Amended
                                        18   Complaint, pursuant to Screening Order (ECF No. 41), by an additional thirty (30) days,
                                        19   extending the deadline from November 5, 2020 to December 7, 2020.
                                        20            This Request for an extension of time is not sought for any improper purpose or
                                        21   other purpose of delay. This is the fifth request for an extension in this matter. This request
                                        22   for extension is based upon the following:
                                        23            Counsel for Plaintiff TODD EVANS requires this additional extension of time due
                                        24   to conflicting deadlines in other cases. Specifically, counsel for Mr. Evans has several
                                        25   conflicting state and federal court deadlines, such as a Reply Brief due on November 3, 2020
                                        26   in Las Vegas Review-Journal v. Las Vegas Metropolitan Police Department, Eighth Judicial
                                        27
                                             District Court Case No. A-20-811063-W which required substantial time and resources; an
                                        28
                                             informal settlement conference on November 5, 2020 in a federal civil rights matter; an


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                                         1   Answer due on November 5, 2020 in NuLeaf Inc. v. SH Parent, Inc., Eighth Judicial
                                         2   District Court Case No. A-20-813752-B; a hearing in state district court on November 5,
                                         3   2020 in Las Vegas Review-Journal v. Clark County School District, Eighth Judicial
                                         4   District Court Case No. A-17-750151-W, an Arbitration Statement due on November 6,
                                         5   2020 in Colvin 1997 Trust v. Shelley Colvin, Eighth Judicial District Court Case No.
                                         6
                                             A-19-806162-C in advance of a November 20, 2020 arbitration; and contested
                                         7
                                             hearings in state district court on November 5, 9 and 10, 2020.
                                         8
                                                       Accordingly, counsel requires additional time to adequately represent Mr. Evans’
                                         9
                                             interests in this matter.
                                        10
                                                       WHEREFORE, the parties respectfully request that this Court extend the deadline
                                        11
                                             for Plaintiff to file his Amended Complaint to up to and including December 7, 2020.
                                        12
                                                       IT IS SO STIPULATED.
                                        13
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                                             DATED this 4th day of November, 2020.           DATED this 4th day of November, 2020.
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                                        15   MCLETCHIE LAW                                   ATTORNEY GENERAL’S OFFICE

                                        16
                                             /s/ Alina M. Shell                               /s/ Douglas R. Rands
                                        17
                                             Margaret A. McLetchie, NBN 10931                 Aaron D. Ford, Nevada Attorney General
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                                        20   Attorneys of Plaintiff Todd Evans                Attorneys for Defendants

                                        21
                                        22                                       ORDER

                                        23   There shall be no further extensions granted barring unforeseen and extenuating
                                        24   circumstances.
                                        25   IT IS SO ORDERED.
                                        26                                          HONORABLE JUDGE WILLIAM G. COBB
                                        27
                                        28                                          DATED: November 5, 2020



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